Case 4:25-cr-01595-BGM Document1 Filed 03/17/25 Pagelof1

CRIMINAL COMPLAINT
(Electronically Submitted)

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United States District Court DISTRICT of ARIZO
United States of America DOCKET NO.
v.
David Zavala-Cano
YOB: 1989; Citizen of Mexico MAGISTRATE'S CASE x5 01605MI

Complaint for violation of Title 8, United States Code Sections 1326(a) and 1325(a)(1)

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

Count 1: On or about March 14, 2025, at or near Nogales, in the District of Arizona, David Zavala-Cano, an alien,
entered, and was found in the United States of America after having been denied admission, excluded, deported, and
removed from the United States through Nogales, Arizona on October 11, 2024, and without obtaining the express
consent of the Attorney General or the Secretary of the Department of Homeland Security to reapply for admission
thereto; in violation of Title 8, United States Code, Section 1326(a), a felony.

Count 2: On or about March 11, 2025, at or near Nogales, in District of Arizona, David Zavala-Cano, an alien, did
unlawfully enter the United States of America from Mexico, at a time or place other than as designated by immigration
officials of the United States of America, in violation of Title 8, United States Code, Section 1325(a)(1), a petty
misdemeanor.

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:

David Zavala-Cano is a citizen of Mexico. On October 11, 2024, David Zavala-Cano was lawfully denied
admission, excluded, deported and removed from the United States through Nogales, Arizona. On March 14, 2025,
agents found David Zavala-Cano in the United States at or near Nogales, Arizona without the proper immigration
documents. David Zavala-Cano did not obtain the express consent of the Attorney General or the Secretary of the
Department of Homeland Security to re-apply for admission to the United States. Furthermore, David Zavala-Cano
admitted to illegally entering the United States of America from Mexico on or about March 11, 2025, at or near
Nogales, Arizona at a time or place other than as designated by immigration officials.

MATERIAL WITNESSES IN RELATION TO THE CHARGE:

DETENTION REQUESTED SIGNATURE OF LAINANT (official title)
Being duly sworn, I declare that the foregoing is CAC =
true and correct to the best of my knowledge. FreR. Wood
Border Patrol Agent

Sworn by telephone _x

SIGNAT’ MAGISTRATE JUDGE” DATE
ry ha..00 March 17, 2025

See Federal rules of Criminal Procedure Rules 3, 4.1, and 54

Reviewing AUSA: Hopkins
